Case 2:17-cv-00185-LPL Document 50-9 Filed 09/26/18 Page 1 of 5

EXHIBIT I

. ' a'CaSe 2:17-cv-OOF.

'SKWESBSQJW$¢M)§ J%wed 09/2(@§8 Page 2 of 5

are Medical Survey Report

%NTAKE lNFORMATION SHEET

 

 

CIPS:

Name: Orlando , John 00 \ ' |,=,,.\¢5.;:@JQ\\;\;;.______“_a____““____n
Race: W DOB: Ent.Date: 03/26/2016
SSN: _ Gender: M Ent.Time: 11:44:16 AM

` MQLVM
Interpretor Used Y/N N
lf yes. Name of the |nterpretor Service
lntake Refuse Y/N N
Records Received V/N N
AKA: Orlando,John

Address:
Phonm
C|ientScr enl g ccepted or Dec|ined: Accepted

Why Dec|ined:

Transfering from another facility Y/l No

Whlch Faci|ity?

|nsurance Y/N: No
Carrier:

|nsurance Name
Po|icy #:

§msr_qw_cv_§g\;a§_f.

Name: Or|andoILawniczak,Jean
Address: No Emergency Contact Address on Fi|e

Home Phone: 4127814986

Work Phone:

Medica| Condltions

 

 

|Medications brought IN by |nmate:

Medications

Pil| Count Use or Destroy

Comments Destroy Date §

 

 

AC-OO77

. ' ease 2:17-cv-00;Lez;-;H3§g‘@)%%¥rhétitl§o}§JPited 09/

__. ate Medical Survey Repolt

Behavioral Health

Do you have any current mental health complaints ?
__M_Do.you havea-histery-ef-a-mental~health»preblem ?

History of outpatient therapy ?
Within the last year ?

History of psychotropic medication(s) ?

History of psychotropic hospitalization ?
Within the last year ?

History of Suicide attempts ?

lf so describe :

Are you thinking of suicide currently ?
|f yes, Do you have a plan? Describe :

Family or friends history of suicide ?
Recent significant loss (within past six months) ?

Do you feel like there is nothing to look
forward to (feeling hopeless / helpless) ?

Have you ever hurt youse|f on purpose ?

Are you thinking about hurting yourself now ?
Are you thinking about hurting others now ?
Ever Hospitalizes for head trauma ?

History of Violent Behavior ?

History of victimlzation ?

History of Sex Offenses?

Comments

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46158 Page 3 of 5

 

AC-OO78

. ' ease 2:17-cv-0q19?:tl$'i°;gll§’o‘_%¥rtré$it‘§éyojqdiled 09/;%3 Page 4 of 5
‘.. ate Medical Survey Report '

Last Physica| Exam Date: Last Mamogram Date:
Last Menstrua| Period Date

 

Notifled inmate abou the Alie hen Coun Jail PHVSICAL MENTAL & SEXUAL abuse Po|icv YIN Y
Have you ever been a victim of Physical abuse? N

lf yes detai|s:
Have you ever been a victim of Mental abuse? N
lf yes details:
Have you ever been a victim of Sexual abuse? N
if yes detai|s:

 

AC-OO79

_ ' C 2:17- -00'3 LHESB‘B§Q{ `éRttiH)éJ%iied 09/2 P 5 is
age CV ¥.j:i:lte Medicgl] Survey Report §§ age 0

implement : ClWA N COWS N BWS_C N
Additlonal Comments: Denies any private medical isssue to discuss. MH referral, opiod l ETOH detox ordered and
initiated.

Teresa E. Latham, RN

 

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